     Case 3:18-cv-00014-WQH-KSC Document 13 Filed 02/15/18 PageID.66 Page 1 of 3



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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    D.C., J.C., and T.C., by and                       Case Nos.: 18-cv-0013-WQH-KSC
      through their GUARDIAN,                                       18-cv-0014-WQH-KSC
12
      MELANIE CABELKA,                                              18-cv-0016-WQH-KSC
13                                     Plaintiffs,
14    v.                                                   ORDER
15
      COUNTY OF SAN DIEGO;
16    COUNTY OF SAN DIEGO
      HEALTH AND HUMAN
17
      SERVICES; CASEY FAMILY
18    PROGRAMS; SARAH WILSON,
      individually; CARLOS OMEDA,
19
      individually; FATIMAH
20    ABDULLAH, individually;
      LAUREL BREDTHAUER,
21
      individually; MARILYN
22    SPROAT; and DOES 1 through
      100,
23
                                     Defendants.
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27                                                   1
                                                                            18-cv-0013-WQH-KSC
28                                                                          18-cv-0014-WQH-KSC
                                                                            18-cv-0016-WQH-KSC
     Case 3:18-cv-00014-WQH-KSC Document 13 Filed 02/15/18 PageID.67 Page 2 of 3



 1   HAYES, Judge:
 2         The matters before the Court are three motions filed by Defendants County of San
 3   Diego, Sarah Wilson, Carlos Olmeda, and Fatimah Abdullah (the “County Defendants”):
 4   (1) the Motion to Consolidate (ECF No. 6) filed in D.C. v. County of San Diego et al., 18-
 5   cv-0013-WQH-KSC; (2) the Motion to Consolidate (ECF No. 7) filed in J.C. v. County of
 6   San Diego et al., 18-cv-0014-WQH-KSC; and (3) the Motion to Consolidate (ECF No. 7)
 7   filed in T.C. v. County of San Diego et al., 18-cv-0016-WQH-KSC.             The County
 8   Defendants move the Court to consolidate the following cases: D.C. v. County of San Diego
 9   et al., 18-cv-0013-WQH-KSC; J.C. v. County of San Diego et al., 18-cv-0014-WQH-KSC;
10   and T.C. v. County of San Diego et al., 18-cv-0016-WQH-KSC. The record reflects that
11   no party has filed a Notice of Opposition to any of the Motions to Consolidate.
12         IT IS HERERBY ORDERED that the Motions to Consolidate (ECF No. 6 in D.C.
13   v. County of San Diego et al., 18-cv-0013-WQH-KSC; ECF No. 7 in J.C. v. County of San
14   Diego et al., 18-cv-0014-WQH-KSC; and ECF No. 7 in T.C. v. County of San Diego et al.,
15   18-cv-0016-WQH-KSC) are GRANTED. D.C. v. County of San Diego et al., 18-cv-0013-
16   WQH-KSC; J.C. v. County of San Diego et al., 18-cv-0014-WQH-KSC; and T.C. v. County
17   of San Diego et al., 18-cv-0016-WQH-KSC are consolidated for all purposes. D.C., J.C.,
18   and T.C., by and through their Guardian, Melanie Cabelka, v. County of San Diego,
19   County of San Diego Health and Human Services, Casey Family Programs, Sarah Wilson,
20   Carlos Olmeda, Fatimah Abdullah, Laurel Bredthauer, and Marilyn Sproat, 18-cv-0013-
21   WQH-KSC shall be the lead case and all subsequent pleadings and motions shall be filed
22   under this caption and case number.
23         IT IS FURTHER ORDERED that Plaintiffs shall file a First Amended Complaint in
24   D.C. et al. v. County of San Diego et al., 18-cv-0013-WQH-KSC containing all of their
25   claims from D.C. v. County of San Diego et al., 18-cv-0013-WQH-KSC; J.C. v. County of
26   San Diego et al., 18-cv-0014-WQH-KSC; and T.C. v. County of San Diego et al., 18-cv-
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                                                                              18-cv-0013-WQH-KSC
28                                                                            18-cv-0014-WQH-KSC
                                                                              18-cv-0016-WQH-KSC
     Case 3:18-cv-00014-WQH-KSC Document 13 Filed 02/15/18 PageID.68 Page 3 of 3



 1   0016-WQH-KSC by March 16, 2018. Defendants shall respond to the First Amended
 2   Complaint within 60 days of the date of the filing of the First Amended Complaint. Upon
 3   the filing of the First Amended Complaint in D.C. et al. v. County of San Diego et al., 18-
 4   cv-0013-WQH-KSC, the Clerk of the Court shall administratively close J.C. v. County of
 5   San Diego et al., 18-cv-0014-WQH-KSC and T.C. v. County of San Diego et al., 18-cv-
 6   0016-WQH-KSC.
 7         IT IS FURTHER ORDERED that the following documents are HEREBY SEALED:
 8   (1) ECF Nos. 1 through 11 in D.C. et al. v. County of San Diego et al., 18-cv-0013-WQH-
 9   KSC; (2) ECF Nos. 1 through 12 in J.C. et al. v. County of San Diego et al., 18-cv-0014-
10   WQH-KSC; and (3) ECF Nos. 1 through 12 in T.C. et al. v. County of San Diego et al., 18-
11   cv-0016-WQH-KSC. All subsequent filings in D.C. et al. v. County of San Diego et al.,
12   18-cv-0013-WQH-KSC must comply with the Electronic Case Filing Administrative
13   Policies and Procedures Manual of the United States District Court for the Southern District
14   of California, including subsection 1.h.2 (“[P]arties must refrain from including . . . from
15   all pleadings and documents filed with the court . . . [n]ames of minor children. If the
16   involvement of a minor child must be mentioned, only the initials of that child should be
17   used.”).
18    Dated: February 15, 2018
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                                                                               18-cv-0013-WQH-KSC
28                                                                             18-cv-0014-WQH-KSC
                                                                               18-cv-0016-WQH-KSC
